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   6
   7                             UNITED STATES BANKRUPTCY COURT
   8                                     Southern District of California
   9
       In re
  10                                                         Case No. 24-1376-CL7
       PIRCH, Inc.
  11                                            Chapter 7
                                       Debtor.
  12   ________________________________________ RS No.: GFH-1
  13
                                                             MEMORANDUM OF POINTS AND
       Robert P. Goe, an individual, and Erika Goe, an
  14   individual,                                           AUTHORITIES IN SUPPORT OF MOTION
                                                             FOR RELIEF FROM STAY
  15                                          Movants,
  16    vs.
  17    PIRCH, Inc., a California corporation, and
        LESLIE T. GLADSTONE, Chapter 7 Trustee
  18
                                           Respondents.
  19
  20           The Movants, Robert P. Goe and Erika Goe, submit their Memorandum of Points and
  21   Authorities in Support of their Motion for Relief from Stay.
  22   I.      Legal Argument
  23           A.     Debtor Has No Interest In The Appliances Because Debtor Identified Them
  24                  With Serial Numbers To Transfer Title To The Appliances To Movants Under
  25                  California Law
  26           Under Butner v. United States, 440 U.S. 48, 55 (1979), property of a bankruptcy estate is
  27   determined under the applicable state law to a bankruptcy case. The applicable state law to this
  28   Bankruptcy Case is the law of California. Id.



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   1           California Uniform Commercial Code (“UCC”) § 2401(1) states "Title to goods cannot
   2   pass under a contract for sale prior to their identification to the contract (Section 2501) . . . ."
   3   Under UCC § 2501, "In the absence of explicit agreement identification occurs:
   4   (a) When the contract is made if it is for the sale of goods already existing and identified; [or]
   5   (b) If the contract is for the sale of future goods . . ., when goods are shipped, marked or otherwise
   6   designated by the seller as goods to which the contract refers . . . ." The purpose of this
   7   identification requirement is to determine the point in time when the buyer has an insurable
   8   interest in the goods or a special property interest that has relevance in a variety of contexts, such
   9   as when the goods are lost or the seller becomes insolvent prior to delivery. California State
  10   Electronics Assn. v. Zeos Internat. Ltd. (2nd Dist., 1996) 41 Cal. App. 4th 1270 (title to computer

  11   passed from seller to buyer once the seller identified the computer to sell to buyer); Aerospace
  12   Corp. v. State Bd. of Equalization (2nd Dist., 1990), 218 Cal. App. 3d 1300 (title to personal
  13   property passes when the property is identified by seller to buyer).
  14           As set forth in the Declaration of Robert P. Goe (“Goe Decl.’) in Support of Motion for
  15   Relief from Stay at Paragraphs 2 through 14, the Debtor identified the Appliances (defined in Goe
  16   Decl.) to the Contract (defined in Goe Decl.) on March 20, 2024 with serial numbers in the

  17   Picking Picket, which is Exhibit 5 to the Goe Decl. This Picking Ticket identified the Wolf gas
  18   range burner with Serial Numbers STAGING – 18799391, STAGING-18802807, RECEIVING-
  19   18806507, RECEIVING-18806925 and as being located at the Warehouse (defined in the Goe
  20   Decl.) for Location Code 0003. The Picking Ticket identified the Sub-Zero freezer with Serial
  21   Number STAGING-24475911 at the same location. See Exhibit 5 of the Goe Decl. Thus, title to
  22   the Appliances passed from the Debtor as seller to the Movants as buyers under UCC §§ 2401 and
  23   2501. The Movants are the owners of the Appliances and, they are not property of the Debtor’s
  24   bankruptcy estate.
  25           A Chapter 7 trustee bears the burden of proving that property at issue is property of the
  26   bankruptcy estate under 11 U.S.C. § 541. Wolfe v. Jacobson (In re Jacobson), 676 F.3d 1193,
  27   1200-01 (9th Cir. 2012) (citing 5 Collier On Bankruptcy ¶ 542.02 (16th ed. 2011)), which Trustee
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   1   cannot establish as Movants Appliances are specifically identified owned and paid for in full by
   2   Movants.
   3
   4
                                                            Respectfully submitted by
   5    Dated: May 22, 2024
   6                                                        GOE FORSYTHE & HODGES LLP

   7                                                        By: /s/Robert P. Goe
                                                                 Robert P. Goe
   8                                                             Dixon L. Gardner
                                                                 Attorneys for Movants, Robert P. Goe
   9                                                             and Erika Goe
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